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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )      CASE NO. 8:09CR411
                                                  )
                     Plaintiff,                   )
                                                  )
       vs.                                        )
                                                  )      PRELIMINARY ORDER
ARNEL KNIGHT, and                                 )      OF FORFEITURE
EDDIE WOODS,                                      )
                                                  )
                     Defendants.                  )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 54). The Court reviews the record in this case

and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed

to plead guilty to Counts I, II and V of said Indictment. Count V seeks the forfeiture under

21 U.S.C. § 853 of $6,373.00 in United States currency, on the basis it was used or was

intended to be used to facilitate the controlled substance violations set out in Counts I and

II and/or was derived from proceeds obtained directly or indirectly as a result of the

commission of said controlled substance violations.

       2. By virtue of said pleas of guilty, the Defendants forfeit their interests in the

subject property, and the United States should be entitled to possession of said property,

pursuant to 21 U.S.C. § 853.

       IT IS ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

No. 54) is hereby sustained.
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       B. Based upon Count V of the Indictment and the Defendants’ pleas of guilty, the

United States is hereby authorized to seize the $6,373.00 in United States currency.

       C. The Defendants’ interest in said property is hereby forfeited to the United States

for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

       D. The aforementioned forfeited property is to be held by the United States in its

secure custody and control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the United States forthwith shall publish for

at least thirty consecutive days on an official Government internet site (www.forfeiture.gov)

notice of this Order, Notice of Publication evidencing the United States’ intent to dispose

of the property in such manner as the Attorney General may direct, and notice that any

person, other than the Defendant, having or claiming a legal interest in any of the subject

forfeited property must file a Petition with the court within thirty days of the final publication

of notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

property, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner's right, title or interest in the subject property and any

additional facts supporting the Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property subject to this Order

as a substitute for published notice as to those persons so notified.



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       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       DATED this 10th day of May, 2010.

                                                 BY THE COURT:



                                                 s/Laurie Smith Camp
                                                 United States District Judge




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